                      Case 17-30655           Doc 38        Filed 04/25/18 Entered 04/25/18 17:06:17                             Desc Main
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Fill in this information to identify the case:

                        Jerone Alan Jackson a/k/a Jerone A. Jackson, d/b/a My Three Js
Debtor 1                Lawn Service

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:           Western District of Tennessee

Case number             17-30655



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


Name of creditor:                  MTGLQ Investors, L.P.                          Court claim no. (if known):      6



Last 4 digits of any number you use to                                            Date of payment change:
identify the debtor’s account:                    XXXXXX0749                      Must be at least 21 days after the date           07/01/2018
                                                                                  of this notice

                                                                                  New total payment:
                                                                                                                                    $786.08
                                                                                  Principal, interest, and escrow, if any

Part 1:          Escrow Account Payment Adjustment


1. Will there be a change in the debtor’s escrow account payment?
         No
         Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
     the basis for the change. If a statement is not attached, explain why: ___________________________________________________________
     ___________________________________________________________________________________________________________________

     Current escrow payment :               $205.92                                   New escrow payment:              $263.09


Part 2:          Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s variable rate account?
        No
        Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
     explain why: ________________________________________________________________________________________________________
     ___________________________________________________________________________________________________________________


Current interest rate:                                                                  New interest rate:


Current principal and interest payment                                                  New principal and interest payment:


Part 3:          Other Payment Change

3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                      Reason for change: ____________________________________________________________________________________

                      Current mortgage payment: $ __________________                        New mortgage payment : $_________________________


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Debtor 1        Jerone Alan Jackson                                              Case Number (if known)    17-30655




Part 4:       Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.
    I am the creditor.
    I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



  /s/ Heather Martin-Herron                                                      Date   04/25/2018
  Signature



Print:                   Joel W. Giddens Heather Martin-Herron, Angela Boyd Mathews & James Bergstrom                    Title   Attorneys


Company                  Wilson & Associates, PLLC

Address                  5050 Poplar, Suite 1015
                         Memphis,TN 38157


Contact phone             (901) 578-9914             Email        jgiddens | hmartin-herron | amathews | jbergstrom@wilson-assoc.com


                                                                CERTIFICATE OF SERVICE

         On April 25, 2018, a copy of the foregoing Notice of Payment Change was served electronically through the electronic case filing
system (ECF) upon:

           Gwen Hewitt                                                            George W. Stevenson
           Attorney at Law                                                        Trustee
           5050 Poplar Avenue Suite 2400                                          5350 Poplar Avenue, Suite 500
           Memphis, TN 38157                                                      Memphis, TN 38119

and served via U.S. mail upon:

           Jerone Alan Jackson
           Debtor(s)
           4213 Indian Brook Cove
           Memphis, TN 38125
                                                                                /s/ Heather Martin-Herron

                                                                                Joel W. Giddens (016700)
                                                                                Heather Martin-Herron (032248)
                                                                                Angela Boyd Mathews (033125)
 W&A No. 120552                                                                 James Bergstrom (20622)




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